           Case 3:19-cr-00128-HEH Document 3 Filed 09/17/19 Page 1 of 1 PageID# 4

                                         GRAND JURY RETURNS
                                    UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA,RICHMOND DIVISION


DateQ -ll-l "?                                     Judge h/pVAK-                USMJ
Grand Jury Panel #         2^                      Grand Jury Foreperson(
Court Reporter ^^IpidldOKj                         Counsel for Govt
            Ve-tcirarn- Kc^poc'teA^                                         '
On motion ofthe Government,granted by the Court, BENCH WARRANTS shall be issued as follows:

   I. USv

   2. USv

   3. USv

   4. USv

   5. USv

   6. USv

   7. USv

On motion ofthe Government, granted by the Court, BENCH WARRANTS as DETAINERS shall be issued as
follows:

   1. usv "TrAv'is AaadivJ
   2. usv Te-              II PJorKe-               jeij
   3. usV fiK^iio T
   4. USv LjQLUr€-l\J6>^ fi. MtfEAvW
   5. USv

   6. USv

   7. USv

On motion ofthe Government, SUMMONS shall be issued as follows:

   1. USv                            ^
   2. US V

On motion ofthe Government, granted by the Court, the following indictments shall be transferred to the
                     Division for docketing and trial:

   1. USv
   2. US V

Additional Motions, etc:




Began:                          Ended:                     Time in Court:
